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             UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                      FOR THE DISTRICT OF COLUMBIA




_0$5.50($'2:6_
    Plaintiff(s)

                                                                     Civil Action No. _FY_
       vs.


_1$1&<3(/26,HWDO_
     Defendant(s)


                                       AFFIDAVIT OF MAILING

       I, _%URRNV+6SHDUV_, hereby state that:
      On the _WK_ day of B'HFHPEHUB, __, I caused to be deposited in the United States Mail a
copy of the summons and complaint in the above captioned case, postage prepaid,return receipt
requested, restricted delivery, addressed to the following JHQWZKRLVDXWKRUL]HGWRDFFHSWVHUYLFHRQ
EHKDOIRIGHIHQGDQWV1DQF\3HORVL%HQQLH*7KRPSVRQ(OL]DEHWK/&KHQH\$GDP%6FKLII-DPLH%
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       7KH8QLWHG6WDWHV3RVWDO6HUYLFHLVXQDEOHWRORFDWHWKHUHFHLSWIRUWKHFHUWLILHGPDLO, No.
__EXW,KDYHUHFHLYHGDFRQILUPDWLRQYLDWUDFNLQJ(attached hereto), indicating
that delivery of the summons and complaint was made upon said defendanton the _WK_ day of
_'HFHPEHU_, __.

       I declare under penalty of perjury that the foregoing is true and correct.


           -DQXDU\
      ________________________                                        V%URRNV+6SHDUV
                                                             _________________________________
                  (Date)                                                    (Signature)
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                      Case 1:21-cv-03217-CJN Document 9 Filed 01/11/22 Page 2 of 3                                  ÿ


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